                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                                     Court Minutes and Order
HEARING DATE: August 19, 2022
JUDGE:        Brett H. Ludwig
CASE NO.:     21-cv-0146-bhl
CASE NAME:    White v. City of Milwaukee et al
MATTER:       Status Conference
APPEARANCES:  James P. End and Bryn I. Baker, Attorneys for Plaintiff
              Tearman Spencer and Ryan J. Harrington, Attorneys for Defendants
TIME:         9:05 - 9:46 a.m.
COURTROOM DEPUTY: Julie D.
              AUDIO OF THIS HEARING IS AT ECF NO. 39


       The Court considered Defendants’ pending motion to extend the dispositive motion and
discovery deadlines and adjourn the final pretrial conference and trial. Finding excusable neglect
by Defendants and a lack of unfair prejudice to Plaintiff, the Court will grant the motion, in part,
and reopen discovery for the sole purpose of allowing Defendants to take Plaintiff’s deposition.
See Fed. R. Civ. P. 6(b)(1)(B).

       IT IS HEREBY ORDERED that Defendants’ motion for an extension of time, ECF No.
32, is GRANTED, in part. Discovery is reopened for the limited purpose of allowing
Defendants to take Plaintiff’s deposition. Limited discovery will close on September 23, 2022.
The motion is DENIED in all other respects.
       IT IS FURTHER ORDERED that Defendants’ motion for an alternate hearing date,
ECF No. 36, is DENIED as moot.

       Dated at Milwaukee, Wisconsin on August 19, 2022.

                                                       s/ Brett H. Ludwig
                                                       BRETT H. LUDWIG
                                                       United States District Judge




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